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                United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 21-3086                                                September Term, 2021
                                                                     1:21-cr-00003-RCL-1
                                                       Filed On: July 5, 2022
United States of America,

             Appellee

      v.

Jacob Anthony Chansley, also known as
Jake Angeli, also known as Jacob Angeli,

             Appellant


                                        ORDER

       Upon consideration of appellant’s motion to voluntarily dismiss appeal, and
appellant’s affidavit in support thereof, it is

        ORDERED that the motion be granted and this case be dismissed. See D.C.
Circuit Handbook of Practice and Internal Procedures 35 (2021).

      The Clerk is directed to issue the mandate forthwith.



                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Tatiana Magruder
                                                         Deputy Clerk
